              Case 1:09-cr-00202-DAD Document 121 Filed 02/08/17 Page 1 of 2


1    PHILLIP A. TALBERT
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    (559)497-4000
     Attorneys for the Plaintiff
5    United States of America

6                                     IN THE UNITED STATES DISTRICT COURT

7                                        EASTERN DISTRICT OF CALIFORNIA

8    UNITED STATES OF AMERICA,                            CASE NO. 1:09-CR-00202-DAD-BAM

9                                    Plaintiff,           STIPULATION AND ORDER
                                                          TO CONTINUE DISPOSITIONAL HEARING
10                           v.

11   JESSE LEAL MARTINEZ, SR.,

12                                   Defendant.

13

14           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

15   Kimberly A. Sanchez, Assistant U.S. Attorney and John Garland, attorney for the defendant, that the

16   dispositional hearing on the defendant’s supervised release violation set for February 13, 2017 at 10:00 am

17   before the Honorable Dale A. Drozd, be continued to February 20, 2017 at 10:00 a.m. The reason for the

18   request is the parties had reached an agreement to recommend the defendant be sentenced to a split sentence

19   of 5 months in custody and 5 months in the RRC. This week, probation received information from the

20   facility at which he would be placed that they would not accept him. As such, the parties need additional

21   time to explore alternatives.

22           Dated: February 8, 2017                               Respectfully submitted,
                                                                   PHILLIP A. TALBERT
23                                                                 United States Attorney
24                                                         By      /s/ Kimberly A. Sanchez
                                                                   KIMBERLY A. SANCHEZ
25
                                                                   Assistant U.S. Attorney
26

27           Dated: February 8, 2017                               /s/ John Garland
                                                                   JOHN GARLAND
28                                                                 Attorney for Defendant

                                                           1
30
              Case 1:09-cr-00202-DAD Document 121 Filed 02/08/17 Page 2 of 2


1                                                          ORDER

2           The Court has reviewed and considered the stipulation of the parties to continue the dispositional

3    hearing on the defendant’s supervised release violation in this case. Good cause appearing, the dispositional

4    hearing as to the above named defendant currently scheduled for February 13, 2017, is continued until

5    February 22, 2017, at 10:00 a.m. in Courtroom 5 before District Judge Dale A. Drozd.

6
     IT IS SO ORDERED.
7

8
        Dated:     February 8, 2017
                                                         UNITED STATES DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                           2
30
